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UNITED STATES OF AMERICA,
v. No. l3-CR-52l (RA)

JOSEPI-I HUNTER, ADAM SAMIA, and OPINION AND ORDER
CARL DAVID STILLWELL,

Defendants.

 

 

RONNIE ABRAMS, United States District Judge:
IN'I`RODUCTION

Before the Court are Rule 29 and 33 motions filed by Defendants Hunter, Samia, and

Stillvvell.1 For the reasons Set forth herein, these motions are denied.
BACKGROUND

Trial in this action commenced on April 2, 2018. The government rested on April 12, at
Which point each of the defendants orally lodged a Rule 29 motion, With the Court reserving
judgment pursuant to Rule 29(b). Tr. 1474: 24, 1475:7-21. At the close of all the evidence, the
parties argued the motions. Tr. 1777:18-1792:7. On April 18, the jury found the defendants guilty
of all five counts of the indictment, Which charged conspiracy to commit murder~for-hire, murder-
for~hire, conspiracy to commit murder abroad, using and carrying a firearm in relation to a crime
of violence constituting murder, and conspiracy to commit money laundering After the verdict,
the defendants timely submitted moving papers supplementing their motions.2 On August 31,

2018, the Court held oral argument regarding Stillwell’s motion.

 

’ Stiifweli moves only pursuant to Rule 29.
2 Samia has not submitted any papers to the Court, but informed the government that he Was joining in those
submitted by his co-defendants.

 

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DISCUSSION

I. Rule 29

Rule 29 requires a court, “on the defendant’s motion,” to “enter a judgment of acquittal of
any offense for which the evidence is insufficient to sustain a convicticn.” Fed. R. Crim. P. 29(a).
When a court reserves its decision until after the jury returns a verdict, “it must decide the motion
on the basis of the evidence at the time the ruling was reserved.” Fed. R. Crim. P. 29(b).3

On such a motion, a court “must view the evidence in a light that is most favorable to the
government, and with all reasonable inferences resolved in favor of the governmen .” United
States v. Anderson, 747 F.3d 51, 60 (Zd Cir. 2014) (citation omitted). A court further “defer{s} to
the jury’ s evaluation of the credibility of the Witnesses, its choices between permissible inferences,
and its assessment of the Weight of the evidence.” Unitea' States v. Jones, 482 F.3d 60, 68 (Zd Cir.
2006). If “any rational trier of fact could have found the essential elements of the crime beyond a
reasonable doubt,” the Court must deny the motion. Unit‘ed States v. Aguilar, 585 F.3d 652, 656
(2d Cir. 2009) (emphasis in original) (quoting Jack.ron v. Virginia, 443 U.S. 307, 319 (1979)).
This strong “deference . . . to a jury verdict is especially important When reviewing a conviction
of conspiracy” because conspiracies “by [their] very nature” are “secretive” and thus are “rare[ly]
. . . laid bare in court.” Ana'erson, 747 F.3d at 72-73 (citation omitted).

Each of the defendants’ motions centers on the same count contained in the indictment

count three, which charges conspiracy to commit murder and kidnapping abroad, in violation of

 

3 The defendants have not specified whether they move solely pursuant to Rule 29(a) and {b), or aler
instead_pursuant to Rule 29(c), which would permit the Court to consider the entire record rather than just the
evidence introduced on the government’s case-in-chief. See Unr`tedStafes v. Atilla, No. l$~CR-876 (RMB), 2018 WL
791348, at *2*3 (S.D.N.Y. Feb. 7, 2018). Stillweli initially notes in his papers that he is moving pursuant to Rule
29(c), but this seems to be in error as both in his submission and at argument he emphasized that the Court may not
consider evidence introduced on the defense case. See Stiilwell Reply 3 n.3, ECF No. 613; Tr. 11:15"»-25, ECF No.
632. The Court, therefore, has proceeded only under Rule 29(b), which specifies that the motion be assessed as of the
time the Court reserved judgment, in this case when the government rested. ln any event, the outcome under either
Rule 29(b) or (c) would be the same.

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18 U.S.C. § 956(a)(l).4 Speciiicaily, 18 U.S.C. § 956 (a)(l) provides that, “[w]hoever, within the
jurisdiction of the United States, conspires with one or more other persons, regardless of where
such other person or persons are located, to commit at any place outside the United States an act
that would constitute the offense of murder, kidnapping, or maiming if committed in the special
maritime and territorial jurisdiction of the United States shall, if any of the conspirators commits
an act within the jurisdiction of the United States to effect any object of the conspiracy [be guilty
of a crime].”

The Court instructed the jury that this charge includes four elements, each of which the
government was required to prove beyond a reasonable doubt With regard to each defendant (l)
“from at least 2008 up to and including July 2014, there existed a conspiracy to commit murder or
kidnapping in a foreign country”; (2) the defendant “knowingly and willfully became a member
of that conspiracy”; (3) the defendant “conspired with one or more members of the conspiracy
while that defendant was physically present in the United States”; and (4) “at least one member of
the conspiracy committed an overt act while in the United States in furtherance of that conspiracy.”
Tr. 2011:1-15. Each defendant challenges only the third element, which concerns jurisdiction

With respect to this contested jurisdictional element, the Court further instructed the jury
that a defendant must “have knowingly joined or participated in the conspiracy to commit murder
or kidnapping in a foreign country while he was physically present in the United States. . . . [A]
defendant cannot have knowingly joined or participated in a conspiracy prior tc having the
requisite knowledge of its unlawful purpose or obj ective. Thus, for a defendant to be convicted of

[count three], he must have known that the purpose of the conspiracy Was to commit murder or

 

4 The parties agreed that the third count of the indictment is a necessary predicate to the defendants’ guilt on
counts one, two, and four. Accordingly, the jury was instructed that were it to find any of the defendants not guilty
on count three, they were to proceed to assess that particular defendant’s guilt only on count five, which charged
conspiracy to commit money laundering In light of this relationship between the counts, the third count of the
indictment was re-numbered as count one on the verdict form.

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kidnapping abroad when he entered or participated in the conspiracy while he was in the United
States.” Tr. 2022:19-2023:7. Each defendant’s argument thus turns on whether there was
sufficient evidence that he joined or participated in the conspiracy with knowledge of its unlawful
objective while physically present in the United States.

A. Joseph Manuei Hunter

Contrary to Hunter’s assertions, there was ample evidence from which the jury could have
concluded that the government proved, beyond a reasonable doubt, that he conspired to commit
murder or kidnapping abroad While physically present in the United States. lt was undisputed that
during the conspiracy, Hunter resided outside the United States but visited on a number of
occasions At trial, much of the evidence centered on a trip Hunter allegedly made to the United
States in December of 2011, which is one of the overt acts specified in the indictment This
particular trip took on great import for all three of the defendants because it was the occasion on
which Hunter was allegedly in the United States that most closely preceded when Samia and
Stillwell traveled to the Philippines in lanuary 2012 to commit murders on behalf of Paul LeRouir.5

The government specifically alleged that Hunter was a passenger on Korean Airlines Flight
35 from Seoul to Atlanta on December 10, 2011. The government’s proof at trial relied largely on
the testimony of Yoon~Soo Nam, a senior manager with 30 years’ experience at Korean Air, Tr.
1102:25»»~1103:12, through whom the government introduced a document that Mr. Nam specified
was the manifest for passengers onboard Flight 35 and which listed Hunter’s name, Tr. 1103:15m
1104:4, 1105:2-3, l105:8-»10, 11l0:8~15. Mr. Nam also explained that in 2014 the airline

migrated data to a new system and some information was lost, which was why the manifest omitted

 

5 LeRoux, a cooperating witness, was the head of the organization that employed all three of the defendants
and it was he who selected the murder targets for Hunter, Samia, and Stiliwell. See 'l`r. 308:17-18, 468:3-14

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certain information with respect to Hunter, such as his ticket number. Tr. 1109:20~1110:3;
l111:15-1114:11.

The government further introduced documents through Steven Wnorowski, a Customs and
Border Protection (“CBP”) officer. These records came from several databases. CBP manages
one database, TECS, formerly an acronym for rl`reasury Enforcement Communication Systems,
which includes information on those passengers aboard airplanes entering the United States. Tr.
1057:17~1058:3, 1076:13-14. At least some of the information contained in TECS comes from a
separate database, the Advance Passenger lnformation System (“APIS”), which is instead
maintained by air couriers. Tr. 1058:4#~20.6 APIS is similarly the source of at least some
information in yet a third database called the Automated Targeting System Passenger (“ATSP”).
Tr. 1058:23-1059:11.

Mr. Wnorowski produced records from TECS that listed Hunter’s name associated with
Flight 35. Tr. 1085:l4-1086:i1; GX 101-1. ()n cross-examination, however, counsel for Stillwell
elicited the fact that air couriers transmit certain information to APIS prior to a given flight’s
departure. Tr. 1073:20-1074:15. Therefore, rather than relying on a roster of those passengers
actually onboard a plane, the data is derived from reservation information Tr. 1074:1-15; 1078:1-
5 . The critical point, and the inference urged by the defendants, was the following: the records
could incorrectly indicate that a person was a passenger because he purchased a ticket but for
whatever reason did not board the aircraft This argument was bolstered by information contained
in the ATSP database, which indicated that Mr. Hunter was “not onboard” Flight 35. Tr. 1068:15m
1069:5; GX 607. Moreover, a separate set of records-mthe “Person Encounter Detail”_specitied

that no CBP personnel encountered Mr. Hunter at customs on December l0, 2011, through which

 

6 On direct, Mr. Wnorowski testified that APIS stands for Automated Passenger Inforrnation System before
correcting himself on cross-examination Compare Tr. 1058:5$ with 1073:2_21.

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he should have passed upon disembarking Flight 35 in order to gain entry to the United States. Tr.
1069:14_1070:5; GX 601»2.

The govemment urged the jury to draw the opposite inference, relying primarily on those
scenarios in which a person’s entry to the United States would not be reflected in the Person
Encounter Detail, namely if the individual were able to evade inspection by the CBP or entered
the country using fraudulent documents. Tr. 1070:6_23. This was an especially strong inference,
in the govemment’s view, in light of the fact that Hunter possessed at least two fraudulent
passports. GXs 205, 206. While plausible, the Court views this theory as less compelling given
that Hunter made the flight reservation in his own name. The government also emphasized,
however, the loss of certain information cited by Mr. Nam when Korean Air migrated data to a
new system. As previously noted, the information in APlS, which was the source of the relevant
data in both TECS and ATSP, would have been provided by the airline.

In light of this conflicting evidence and the need to assess both the strength of the
documentary evidence and the credibility of witnesses, it was for the jury to decide whether the
government had sufficiently established Hunter’s presence on Flight 35. Their conclusion, if they
in fact credited the government’s evidence on this point, would not have been unreasonable as a
matter of law. See Jones, 482 F.3d at 68. But more importantly, in the Court’s view, the
government’s case against Hunter did not rise or fall on his presence on thisw-or any-particular
flight lndeed, the government was under no obligation to prove the precise manner of Hunter’s
entry to the United States. The jurisdictional element instead turns simply on whether he was
physically present in the country at a time when he was participating in the conspiracy Particularly
in light of Hunter’s extensive international travel and history of using fraudulent travel documents,
it is not at all implausible that he could have entered the country on an occasion not reflected in

the salient government records.

 

 

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Critically, Hunter’s presence in the United States during the relevant period was supported
by Timothy Vamvakias, a cooperating witness who testified that sometime between October and
December of 2011 he spoke with Hunter on the phone.7 According to Vamvakias, Hunter called
from a Kentucky area code to inform Vamvakias that he was horne in Owensboro, Kentucky and
had to “meet with Adam and his guy about the bonus job.” Tr. 1209:6~~1210:11.8 At trial, and
again in his moving papers, Hunter attempts to discredit Vamvakias.9 lt is well-established,
however, that the uncorroborated testimony of a single witness, even one cooperating with the
government, may be sufficient to sustain a conviction if the jury deems him credible See, e.g.,
United States v. Farker, 903 F.2d 91, 97 (2d Cir. 1990). lf the jury found Vamvakias credible on
this point, even if it concluded that Hunter did not enter the United States on Flight 35, the
government would have sustained its burden in establishing the jurisdictional element as to Hunter
by virtue of the fact that he was in the United States and attempting to meet Samia and Stillwell
about the planned murders on behalf of LeRouX.w

Even if Hunter’s arguments were credited by the jury, however, the government had ample
other bases for establishing jurisdiction as to him. fn particular, Hunter takes too narrow a view

of the temporal scope of the alleged conspiracy According to the indictment, the conspiracy to

 

7 Vamvakias was also a member of LeRoux’s organization He and Hunter had served together in the U.S.
Army. Tr. 1145:22-24. Varnvakias briefly left the organization in 2008 but returned in 20ll to work under Hunter.
Tr. ll49:7-14, 1181:4-13.

3 The conspirators used the phrase “bonus job” to refer to murders-for~hire. Tr. 1199:6-11; 1206:21-22.

9 The points raised by Hunter, Mot. 20, ECF No. 602, are not inconsistent with Vamvakias’ testimony For
instance, he points to Vamvakias’ explanation that he and Hunter frequently changed their phone numbers, which
actually supports Varnvakias’ testimony regarding the purported 201 1 call with Hunter in explaining why Vamvakias
did not recognize the number from which Hunter called. Tr. 1190:22“1191:5, 1209:13-20. As Hunter notes,
Vamvakias also testified that during this period he was sending money received from Hunter overseas to Kentucky.
Tr. 1194:12-21; 1200:19~22. According to Hunter, he would not have sent money to Vamvakias if he were planning
a trip to the United States. But this argument is dubious, particularly in light of the fact that he had previously
expressed concern about being caught on an occasion in which he was bringing at least $60,000 of criminal proceeds
into the United States. Tr. 1195 : 13-1 196:4.

w At trial, Samia elected to testify in his defense and stated that Stillwell did not meet Hunter until 2012. Tr.
1745:16-18. As previously discussed at note 3, the Court is proceeding by way of Rule 29(b) and thus is precluded
from considering this evidence. In any event, it would have been for the jury to assess the credibility of Samia’s
statement Notably, Samia unequivocally denied being involved in a murder-for»hire plot and thus the jury appears
not to have credited his testimony

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commit murder or kidnapping abroad lasted from 2008 until July 2014. Tenth Superseding
lndictment jj 9, ECF No. 446. Given this duration, there is other credible evidence from which the
jury could have reasonably concluded that Hunter was conspiring while physically present in the
United States.

As the government notes, the evidence adduced at trial established that by 2009 Hunter
was already one of LeRoux’s mercenaries, committing acts of violence around the world. On
December l6, 2009, David Smith" contacted Samia, who had previously expressed interest in
“wet work,”12 about a job with Hunter: “[hjey u want to work with joe 9k plus bonus l don’t want
to get into details if yes l will have joe contact u.” Tr. 406:2~10; GX 400-20. Samia then
forwarded Smith’s email to Hunter. GX 400-20. Hunter responded the next day, noting that he
“just got here in the US for the holidays” and that Smith was referencing “the serious thing in
Af`rica.” Tr. 406:18~23; GX 400-20. He further instructed Samia that they would “talk . . . later,”
in response to which Samia asked Hunter to give him a call. GX 400~20. ln another email to
Samia ten days later, Smith laid out the details of his compensation for this assignment “25k bonus
on each job done.” Tr. 407:4_13; GX 400-21.13 Based on this evidence, therefore, it would have
been eminently reasonable for the jury to conclude that while Hunter was in the United States
during December of 2009, he was conspiring with both Samia and Smith to commit murders~f`or-
hire abroad at the direction of LeRoux and in particular was attempting to recruit Samia. See
United States v. Scmin, 1997 WL 280083 (Table), at *4 (2d Cir. May 23, 1997) (unpublished) (“At
the very least, the challenged statements were part of an effort to recruit Arredondo into the

conspiracy, which is ‘in furtherance’ of the conspiracy because they are intended to achieve the

 

11 Smith was a British national with military experience who was hired by LeRoux in 2005 to lead a team of
mercenaries “who enjoyed killing and torturing and beating” and that would be “available” to LeRoux for “any
projects [he] had in mind.” Tr. 317:3-10. LeRoux helped kill him in December 2010. Tr. 407:25~»408:15.

12 “Wet work” was another term used by the conspirators to refer to murders»for-hire. Tr. 1178:11~17.

13 It was well-established at trial that between 2009 and 2012, LeRoux paid $25,000 as a bonus for only one
thing: successful murders. Tr. 407:15~17; 421:16-21; 430:16~21.

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conspiracy’s goals.” (citing Glenn v. Bartlett, 98 F.3d 72l, 729 (2d Cir. 1996), cert denied, 117
S. Ct. 1116 (1997))).

The contested December 201 l visit aside, after this 2009 trip Hunter traveled to the United
States on at least three other occasions: February 2010, February 2011, and June 2012. GXs 202,
506, 509; Tr. 1386:7~»1390:2. Notably, there is no evidence that Hunter ever withdrew from the
conspiracy_to the contrary. lndeed, it was well-established that beginning in early 2011, Hunter
became the sole person responsible for managing the murderers-for-hire, which included hiring,
overseeing, and otherwise acting as an intermediary between them and LeRoux. Tr. 409:l7m
410:19; 431:5-8; 432:14-433:7. There was thus a basis for the jury to conclude that Hunter was
a member of the conspiracy during these three later trips, particularly the last two, at which point
Hunter, as head of the operation, was actively recruiting members to the conspiracy, as well as
managing the day~to-day operations of LeRoux’s “kill team.”

The testimony at trial was that in early 2011, after LeRoux helped kill Smith, Hunter was
promoted to Smith’s position as head of the mercenaries and was instructed to form a two-person
team, the sole responsibility of which would be murders-for~hire. Tr. 407:25-408'.4, 409:17»m
410:19.14 The jury could have reasonably concluded, therefore, that during the February 2011 visit
Hunter was actively recruiting the members of this newly founded kill team. Tr. 409:17»410:19;
1182:14-1183:1. Indeed, Hunter immediately went about recruiting Chris Del\/leer and “Daddy
Mac.” Tr. 413:5~13.15 When Samia wrote Hunter in April 2011 expressing interest in work,
Hunter indicated that he “[a]lready ha[dj eight guys working for me on various things,” seemingly

confirming he had already recruited the new kill team, in compliance with LeRoux’s instructions

 

14 At the same time that he promoted Hunter, LeRoux instructed him that going forward the mercenaries
would be divided into two groups.' the “business side” and the “ninja side,” which would be responsible solely for
murders-for-hire. Tr. 1182:6-13.

‘5 Del\/Icer was a fenner member of the French Foreign Legion who joined LeRoux’s mercenaiy team in
approximately 2008. Tr. 317:25-318:19. Virtually nothing is known of Daddy Mac. Even LeRoux never learned his
legal name. Tr. 412:23~4:13:1.

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Tr. 412:8-13; GX 436. Del\/Ieer and Daddy Mac would commit one murder for LeRoux in May
or June of 2011 before promptly exiting the organization, leaving Hunter to recruit the new kill
team that would eventually consist of Samia and Stillwell. Tr. 428:16-22, 1196:21-1197:15,
1199:5-11; GX 406-3.

There was also evidence from which the jury could have concluded that Hunter was
participating in the conspiracy during his lune 2012 trip. This visit occurred after Samia and
Stillwell had returned to the United States following the murder of Catherine Lee. By this time,
Stillwell had either withdrawn from the conspiracy or had been fired, requiring Hunter to find a
new member to complement Samia. In April 2012, for instance, Hunter emailed Vamvakias that
he was “still” working with Samia but was trying to recruit him a new partner. Tr. 1214:21“~m
1215:11; GX 406-18. The next month, on May 18, Hunter sent Samia an email criticizing the
“sloppy” job he and Stillwell had done in murdering Lee, but with no reference to the identification
of a new partner for Samia, despite Stillwell’s departure Tr. 529:8-530:24; GX 400-72. This
evidence thus further bolstered the government’s case that Hunter conspired while in the United
States to commit murder abroad.

When the evidence adduced at trial is viewed in its entirety and every inference is drawn
in the government’s favor, therefore, there is simply no basis to disturb the jury’s conclusion that
the government satisfied its burden With respect to the jurisdictional element of 18 U.S.C. § 956.

B. Carl David Stillwell

Stillwell is situated differently from his co-defendants. Stillwell has only ever been out of
the United States on one occasion: when he traveled to the Philippines to participate in the murder
of Catherine Lee. Moreover, as noted previously, it is undisputed that Stillwell was no longer a
member of the kill team shortly after he and Samia returned to the country As a result, and as the

government conceded at trial, Tr. 22:14-22:21, the jurisdictional element as to Stillwell is distilled

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to this question: whether the government proved that he knew the object of the conspiracy prior to
boarding his flight to the Philippines16

Stillwell attacks each piece of evidence pertaining to the jurisdictional element, in certain
instances rightly noting its weaknesses In particular, he highlights the flaws in the government’s
case with respect to Hunter’s presence on Flight 35, which the Court has already addressed, and
the files on Stillwell’s computer detailing, among other things, how to commit murder, as
discussed below. He also rightly notes that much of the evidence against him is circumstantial.
There is not, for instance, a single email between him and his co-conspirators. The fatal flaw in
Stillwell’s argument, however, is that he views each piece of evidence in isolation When the
government’s case is viewed in its entirety and every reasonable inference is drawn in its favor, as
the Court must, there was sufficient evidence on which the jury could have concluded that the
contested jurisdictional element was satisfied17

One of the primary pieces of evidence against Stillwell Was the purported December 2011
meeting that he and Samia had with Hunter. The Court has already discussed the challenges
asserted by the defendants regarding the evidence of Hunter’s presence on Flight 35 in December
201 1 and Varnvakias’ testimony about the call in which Hunter told him that he was in the United
States and intended to meet with Samia and his partner. There is one additional caveat, however,
with respect to Stillwell: Vamvakias “ha[d] no idea” Whether the December 2011 meeting with

Hunter actually occurred Tr. i212:24m12l3: l. Nonetheless, the evidence of this meeting was far

 

16 As to Stillwell, the jury was effectively asked only to consider whether the government had satisfied its
burden with respect to the jurisdictional element Tr. 54. Indeed, counsel for Stillweil conceded in his opening
statement that Stillwell had been involved in the murder of Catherine Lee. Id. 55-56.

17 At trial, Leroux testified that he did not know whether Samia and Stillwell were aware, prior to leaving the
United States, that they were traveling to the Philippines in order to carry out murdersl Tr. 596:11"»»15. ln the course
of providing this testimony, however, LeRoux explained that he lied in 2015 when he told the Government that: (i)
Samia and Stillwell “did not know that they were leaving the United States to conduct a murder;” and (ii) “that the
initial job in the Philippines was a surveillance job." Tr. 522:14~523:2. lt is the jury’s role to make credibility
determinations in deciding which of contradictory pieces of evidence to accept. In any event, LeRoux’s testimony at
trial was ncta critical aspect of the government’s case as to the jurisdictional element.

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from the only indication that Stillwell knew precisely why he was going to the Philippines before
he ever boarded his flight.

in particular, the substantial communications between Samia and Hunter from the spring
through the summer of 2011 support the inference that Stillwell had by that point learned of the
purpose of his trip. On April 9, 2011, for instance, Samia wrote to Hunter that there was “a good
2nd gny” who was “interested in going to work” for Hunter. Tr. 411:24~412:4; GX 400-36. The
inference that Samia was referencing murders When he used the term “wor ” is supported by
Samia’s prior interest in “wet Wor ” and previous efforts by Hunter and David Srnith to recruit
Samia to participate in murders-for-hire. Fl`r. 406:6-10, 406:13~407:1, 407:6»-11, 407:20~23, GX
400-20. The timing of this apparent recruitment of Stiliwell to the conspiracy is further supported
by the May 2012 email in which Hunter complained of waiting a year for Samia to become
available. Tr. 529:8-530:24; GX 400~72.

Bolstering the probative value of these comrnunications, Stillwell worked closely with
Samia to prepare for their trip to the Philippines For instance, on September 30, 2011, Samia and
Stillwell spoke on the phone and Stillwell applied for a passport--~his first ever-for which Samia
ultimately paid. Tr. 1452:12-1453:13; GXs 405-2, 602~7. On that same day, Samia and Hunter
planned a trip for Samia to Brazil in order to meet LeRoux and discuss the murder-for-hire system
he had implemented Tr. 435:22»437:22, 439:5-12; GXs 414»4, 5. Hunter also emailed LeRoux
that “l’m not going to ask for the other guy for our trips until Adam is there with you,” Tr. 443:13~»~
22; GX 414-7, which LeRoux interpreted to mean that “since Adam Samia was one of the two
people assigned to the new kill team to handle the upcoming murders that {Hunter] Wanted to keep

Adam Samia away from the Tramadol operation,” Tr. 443 :25-444:4.18 ln October 0f`2011, Samia

 

13 During this period, Vamval<ias was operating a Tramadol smuggling operation for LeRoux on the “business
side” of the mercenary team overseen by Hunter. Tr. 1183:4-11, 1184:25»~1185:1.
12

 

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informed Hunter that he was ready to travel to the Philippines but that his partner needed another
month. Tr. 453:5-17; GX414'~9. Hunter relayed this message to LeRouX, who instructed Hunter
that Samia should not travel to the Philippines until his partner was ready. Tr. 453:5-454:23.
Hunter accordingly emailed Samia that he was on “standby” until his partner “is ready and you
guys will come here together for [n]inja stuf .” Tr. 454:24-455:10; GX 400~46.19

There was also evidence at trial of the close relationship enjoyed by Samia and Stillwell,
which supports the notion that Stillwell was not blindly helping Samia prepare for a trip to commit
murders abroad. Samia and Stillwell had known each other since 2004, when Samia moved to the
same town in North Carolina, and the two had worked together at a small business named
Grandfather Oak, which sold custom holsters for firearms Tr. 1392:13~18, 1396:12-18; GX400-
31. This evidence makes it all the more implausible that Stillwell would not have learned from
Samia why he was traveling to the Philippines, which, as previously noted, would be his first trip
abroad.

Perhaps most notably, the government introduced evidence from Stillwell’s laptop, which
included a folder saved to his desktop labeled “lnteresting Stuff.” Tr. 921 :23-25. In this folder,
which included thousands of files, were articles detailing, among other things, how to stalk people
and carry out murders With minimal weaponry. Tr. 943:18-944:12, 948 :4~1 1. One article, entitled
Hitman, recommended that murders be carried out at close range, further specifying that When
using a twenty-two caliber pistol it is best practice to fire multiple shots, three to six inches from
the victim, which decreases the risk of being struck by blood spatter. Tr. 950:12-19. This is
precisely how Stillwell and Samia killed Catherine Lee. Stillwell accessed files in this folder in
October of 2011, when he and Samia were preparing in earnest for their trip to the Philippines, and

again in February of 2012, while the kill team was stalking its targets Tr. 924:3»~17; GX N226-

 

19 The conspirators also referred to murders-for-hire as “ninja stuf .” Tr. 1182:20~1183:1.

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28; GX N226-30. Of the files that were accessed in October 201 1, a substantial number concerned
instructions for making explosives, with one article providing a list of twenty-two ways to kill a
person with your bare hands See GXs N226-30, N226-31.

Stillwell rightly notes that the evidence at trial did not establish definitively that he read
these files in October 201 1, prior to departing for the Philippines Much of the testimony centered
on the jump list, a tracking system employed by the Windows operating system. Tr. 923 :4-7. The
jump list indicates when a particular file is “accessed,” which includes when it is opened Tr.
923:4-7. There are a number of other instances, however, in which a file can be “accessed” that
do not include it being opened. Tr. 1009:10-17. Stillwell also points out that among those files
that were accessed in October 2011, most were done so within seconds of one another, supporting
the notion that the files were not being read. See GX N226-30. Finally, the folder was created in
March of 2010, more than a year prior to when the government alleges Stillwell joined the
conspiracy Tr. 939:22-»940:13. Nonetheless, it is highly probative of Stillwell’s intent both that
he had this folder saved to the desktop of the very laptop he carried with him to the Philippines
and that files in the folder, including those concerning explosives and other means of violence,
were “accessed” in October 2011 and then again in February 2012, in the days preceding Catherine
Lee’s murder and while he and Samia tried unsuccessfully to kill several other individuals Tr.
924:3-17; GXs N226-28, N226-30, N226-31.

Stillwell’s argument is further contradicted by his behavior in the Philippines. Lee’s
murder did not occur until Samia and Stillwell had been there for over a month and had decided
that it would be too difficult to kill their first target, Dazl Siveroi, prompting LeRouX to give them
a new assignment Catherine Lee. Tr. 463:17464:15, 468:6-10. There was thus ample time, if
Stillwell had somehow been caught off guard about the purpose of the trip, for him to leave prior

to Lee’s murder. Moreover, Samia and Stillwell had grander ambitions, aspiring, according to

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Hunter, to kill one person per month for LeRoux. Tr. 465:19-23. ln accordance with those plans,
LeRoux gave them third and fourth targets: Fitch Penalosa and Manuel Jalos. Tr. 483:25-484:6,
485 :24-486:6. Although they killed neither of these people, Samia and Stillwell undertook efforts
to surveil them, both before and after killing Lee. Tr. 485:20-23, 507:4-8, GX 414-22. indeed,
following Lee’s murder Hunter informed LeRoux that Samia and Stillwell “plan on doing one
more and then go and come back.” Tr. 50l:3-18; GX4l4-2l. Stillwell thus remained in the
Philippines for approximately two weeks after Lee’s death. See Tr. 508:8_10. Samia and Stillwcll
also laundered their salary and the bonus payment for killing Lee by completing wire transfers to
the United States in amounts less than $10,000. GXs 400-63, 400-66, 400-67, 401-11, 401-12,
402-8, 402-9, 402-12, 402-13.20 These actions further belie the notion that Stillwell had an
innocent state of mind prior to leaving the United States.

Based on all of this evidence, therefore, it was far from unreasonable for the jury to find
that the government had carried its burden of demonstrating that Stillwell knew why he was
traveling to the Philippines when he boarded his flight in January 2012. When the government’s
case-in-chief is viewed cumulatively, as it must be, there is simply no basis to conclude that
Stillwell is entitled to an acquittal as a matter of law.

C. Adam Samia

Although he did not submit a formal motion, Samia informed the government that he joined
the motions submitted by his co-defendants. His motion can be readily dismissed

Unlike Hunter and Stillwell, there is no colorable argument that Samia was not conspiring
while physically present in the United States. As the foregoing analysis indicates, there are a

substantial number of communications in which Samia discusses with Hunter his interest in

 

20 I-Iunter had instructed members of LeRoux’s organization not to wire too much money at a single time for
fear of attracting unwanted attention Tr. 1196:8-11.

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committing murders-for-hire. lt is also undisputed that Samia was in the United States during
these communications As the government notes, the December 2009 and April 2011
communications between Samia and Hunter alone are sufficient to satisfy the jurisdictional
element Tr. 406:2-10, 406:18-23, 407:4»-22, GXs 400-20, 21; Tr. 411:24~412:4, GX 400-36.
Accordingly, there is no basis to disturb the jury’s verdict.

II. Rule 33

Rule 33 permits courts to “vacate any judgment and grant a new trial if the interest of
justice so requires.” Fed. R. Crim. P. 33(a). Courts have “broad discretion . . . to set aside a jury
verdict and order a new trial to avert a perceived miscarriage of justice.” United States v.
Ferguson, 246 F.3d l29, 133 (2d Cir. 2001) (ellipses in original) (citation omitted). “The test is
whether it would be a manifest injustice to let the guilty verdict stand.” United States v. Guang,
51 1 F.3d ll0, l 19 (2d Cir. 2007) (citations omitted). A new trial is appropriate if a court “harbor[s]
a real concern that an innocent person may have been convicted.” Id. (citations omitted).

The Court will not order a new trial under Rule 33. Here, there is no manifest injustice by
permitting these guilty verdicts to stand. The Court does not harbor a concern that either Hunter
or Samia is innocent21 lt is abundantly clear from the trial record that they each conspired while
within the United States to commit murders abroad and then successfully executed their plans on

at least one occasion.

 

21 As previously noted, Stillwell has not submitted a motion pursuant to Rule 33.

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CONCLUSI()N

For the foregoing reasons, the defendants’ motions are denied The Clerk of Court is

respectfully directed to terminate the motions pending at docket entries 601 and 602.

SO ORDERED.

Dated: October 15, 2018
New York, New York

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Rbiinie Abrar`iis
United States District Judge

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